           Case 2:13-cr-00006-MCE Document 75 Filed 02/13/13 Page 1 of 3

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 8                       UNITED STATES DISTRICT COURT
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               2:12-cr-00180-MCE
12             Plaintiff,
13        v.                                 RELATED CASE ORDER
14   MOHAMMAD ADNAN KHAN, ET AL.,
15             Defendants.
     ____________________________/
16
17   UNITED STATES OF AMERICA,               2:12-cr-00300-MCE
18             Plaintiff,
19        v.
20   RYAN HERBERT SMITH, ET AL.,
21             Defendants,
     ____________________________/
22
23   REY CARTAS VELASQUEZ, ET AL.,           2:01-cv-00246-MCE-DAD
24             Plaintiffs,
25        v.
26   MOHAMMED KHAN, ET AL.,
27             Defendants,
     ____________________________/
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            Case 2:13-cr-00006-MCE Document 75 Filed 02/13/13 Page 2 of 3

 1   UNITED STATES OF AMERICA,                2:13-cr-00006-KJN
 2               Plaintiff,
 3         v.
 4   JIT KAUR, ET AL.,
 5             Defendants.
     ____________________________/
 6
 7         The Court has received the Notice of Related Case filed on
 8   January 23, 2013.
 9         Examination of the above-entitled civil and criminal actions
10   reveals that these actions are related within the meaning of
11   Local Rule 123(a) (E.D. Cal. 1997).       The actions involve many of
12   the same defendants and are based on the same or similar claims,
13   the same property transaction or event, similar questions of fact
14   and the same questions of law, and would therefore entail a
15   substantial duplication of labor if heard by different judges.
16   Accordingly, the assignment of the matters to the same judge is
17   likely to effect a substantial savings of judicial effort and is
18   also likely to be convenient for the parties.
19         The parties should be aware that relating the cases under
20   Local Rule 123 merely has the result that both actions are
21   assigned to the same judge; no consolidation of the action is
22   effected.    Under the regular practice of this court, related
23   cases are generally assigned to the district judge and magistrate
24   judge to whom the first filed action was assigned.
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 1        IT IS THEREFORE ORDERED that the newly related action
 2   denominated 2:13-cr-00006-KJM, United States of America v. Jit
 3   Kaur, et al. is reassigned to Judge Morrison C. England, Jr. for
 4   all further proceedings, and any dates currently set in this
 5   reassigned case only are hereby VACATED.       It is further ordered
 6   this case is set for a Status Conference as to all defendants on
 7   March 7, 2013 at 9:00 a.m. in Courtroom 7.        Henceforth, the
 8   caption on documents filed in the reassigned case shall be shown
 9   as 2:13-cv-00006-MCE.
10        IT IS FURTHER ORDERED that the Clerk of the Court make
11   appropriate adjustment in the assignment of criminal cases to
12   compensate for this reassignment.
13        IT IS SO ORDERED.
14   DATED: February 11, 2013
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                                   _______________________________________
16                                 MORRISON C. ENGLAND, JR.
17                                 UNITED STATES DISTRICT JUDGE

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